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                                                       Search Best Buy


                                        Directory      TX      Tyler     5514 S Broadway Ave

                                    STORE DETAILS               GEEK SQUAD


                                    Best Buy Tyler
                                    [    Open Now       Closes at 9:00 PM         4.0   *****             (3212 reviews)



                                          5514 S Broadway Ave
                                                                         (903) 509-0690
                                          Tyler. TX 75703


                                         Directions




                                         Store Hours              Curbside Hours               Services Offered


                                             Open Now

                                         Monday
                                                              Closes at 9:00 PM

                                                               10:00 AM - 9:00 PM
                                                                                               •        Geek Squad
                                                                                                        Services




                                                                                                •
                                        Tuesday                11 :00 AM - 9:00 PM
                                         Wednesday             10:00 AM - 9:00 PM                       P,ggle Shog
                                        Thursday               10:00 AM - 9:00 PM
                                                                                                ■■
                                         Friday                10:00 AM - 9:00 PM               ■■      Windows Store

                                         Saturday              10:00 AM - 9:00 PM
                                         Sunday                10:00 AM - 8:00 PM              e        Samsung
                                                                                                        Experience Shop


                                                                                               e        Samsung_
                                                                                                        ~gerience Onlv.


                                                                                               s        Sonv. Exgerience




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                                                                                               G Car&GPS
                                                                                                        LG Exgerience




                                                                                                        Installation Services




                                                                                               •        P,ggle Authorized
                                                                                                        Service Provider


                                                                                               G Samsung Open
                                                                                                        House


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                                                                                               .....,   Trade-In


                                                                                                ~       Hearing Solutions
                                                                                                        Center




                                        On This Page:

                                        Shop




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                                        Specialty Shops & Services


                                        Explore


                                        FAQs


                                        Reviews


                                        About


                                        Nearby Stores




                                    r


                                                            Find Items in This Store

                                          Search Best Buy                                            a.




                                    Shop Best Buy Tyler




                                         Computers&                  TV&Home
                                                                                           Video Games
                                         Tablets                     Theater




                                               □
                                          Cell Phones                  Audio                Appliances




                                                                                           Wearable
                                                                                           Technology

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                                       Smart Home,         1086
                                                        Cameras,
                                       Securitv&                        Camcorders




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                                       Health,                          Home,
                                                                                                      Toys, Games
                                       Fitness&                         Furniture &
                                                                                                      & Collectibles
                                       Beauty                           Office




                                    Specialty Shops and Services



                                                                                       1■ Microsoft




                                       Apple Shop                                     Windows Store

                                       Visit our store-within-a store for             Get help from Microsoft experts
                                       all things Apple: Mac, iPad,                   and try out a full range of
                                       iPhone, Apple TV and more.                     Microsoft products and
                                                                                      accessories.




                                       SI\MSUNG                                       SONY




                                       Samsung Experience                             Sony Experience
                                       Only
                                                                                      Sony experts are ready to show
                                       See how Samsung's technology                   you the latest TVs, sound bars
                                       can redefine your home theater                 and gaming experiences from
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                                       [G Experience                             Apple Authorized Service
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                                       Trade-In                                  Hearing Solutions Center

                                       Most stores offer Trade-In on             Find the right hearing solutions
                                       eligible items including mobile           with help from experts, plus learn
                                       phones, tablets, other hardware,          more about using your products.
                                       and video game software
                                       purchased anywhere.
                                       Participating stores may have
                                       additional requirements.




                                    More to Explore




                                       Shop with an expert. right                Enjoy a safe, convenient
                                       from home.                                shopping experience.

                                       Call, chat, video chat or in-home         Home Experts can assist you with
                                       consultation.                             any solution, from creating a
                                                                                 home theater to updating your
                                       Shop with an Expert                       Wi-Fi network or even designing
                                                                                 your dream kitchen. We're here to
                                                                                 help, anywhere you would like to
                                                                                 shop.

                                                                                 Learn more.




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